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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
              v.

DOMINIQUE DIVON CASTLE,
                                                                   INDICTMENT
                  Defendant.
_________________________________/

       The Grand Jury charges:

                                           COUNT 1
                                Felon in Possession of a Firearm

       On or about April 11, 2023, in Kalamazoo County, in the Southern Division of the

Western District of Michigan,

                                 DOMINIQUE DIVON CASTLE

knowing he had previously been convicted of a crime punishable by imprisonment for a

term exceeding one year, knowingly possessed a firearm, specifically a loaded Taurus

Judge .38 caliber revolver bearing serial number EM346205, and the firearm was in or

affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. § 921(a)
18 U.S.C. § 924(a)(8)
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                                   COUNT 2
              Possession of Methamphetamine with Intent to Distribute

       On or about April 11, 2023, in Kalamazoo County, in the Southern Division of the

Western District of Michigan,

                             DOMINIQUE DIVON CASTLE

knowingly and intentionally possessed with intent to distribute a mixture or substance

containing a detectible amount of methamphetamine, a Schedule II controlled

substance.

21 U.S.C. § 841(a)(1), (b)(1)(C)




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                                     COUNT 3
                           Felon in Possession of Firearm

       On or about May 22, 2023, in Kalamazoo County, in the Southern Division of the

Western District of Michigan,

                           DOMINIQUE DIVON CASTLE

knowing he had previously been convicted of a crime punishable by imprisonment for a

term exceeding one year, knowingly possessed a firearm, specifically a stolen Ruger

American 9mm pistol bearing serial number 863-07138, and the firearm was in or

affecting commerce.

18 U.S.C. § 922(g)(1)
18 U.S.C. § 921(a)
18 U.S.C. § 924(a)(8)




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                               FORFEITURE ALLEGATION


       The allegations contained in Counts 1 and 3 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

       Upon conviction of one or more of the offenses in violation of 18 U.S.C. §§

922(g)(1) set forth in in Counts 1 and 3 of this Indictment, the defendant,

                            DOMINIQUE DIVON CASTLE,

shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

§ 2461(c), any firearm and ammunition involved in or used in the offense, including, but

not limited to a Taurus Judge .38 caliber revolver bearing serial number EM346205 and

Ruger American 9mm pistol bearing serial number 863-07138 and the ammunition

seized in connection with these firearms.

18 U.S.C. § 924(d)(1)
28 U.S.C. § 2461(c)                         A TRUE BILL




                                            __________________________________________
                                            GRAND JURY FOREPERSON

MARK A. TOTTEN
United States Attorney



___________________________________
TIMOTHY VERHEY
Assistant United States Attorney


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